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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
                              Magistrate Judge David L. West

Criminal Case No. 03-CR-00611-LTB

UNITED STATES OF AMERICA,

Plaintiff,

v.

1. AVERY MAC CRACKEN,
   Defendant.
______________________________________________________________________________

          FINDINGS OF FACT, CONCLUSIONS OF LAW AND REASONS
                         FOR ORDER OF DETENTION
______________________________________________________________________________

        THIS MATTER came before the Court for a detention hearing and preliminary hearing on
a Petition on Supervised Release and Warrant for Arrest of Supervised Releasee on December 26,
2006. Present were the following: Wallace Kleindienst, Assistant United States Attorney, Robert C.
Duthie, III, counsel for the Defendant, and the Defendant. Also present was Robert Dowd,
Probation/Pretrial Services Officer.

        The Petition alleges that on or about May 10, 2006, August 18, 2006, October 6, 2006,
October 11, 2006, October 20, 2006, October 28, 2006, November 1, 2006 and November 7, 2006,
the Defendant used or administered a controlled substance, marijuana, that had not been prescribed
for him by a physician, which constitutes a Grade C violation of supervised release and that the
Defendant failed to provide urine samples at Drug Testing, Inc., Telluride, Colorado, the testing and
treatment program in which the probation officer had directed him to participate on April 14, 2006
and April 29, 2006, which constitutes a Grade C violation of supervised release. During the hearing
on December 26, 2006, the Defendant waived detention and his right to a preliminary hearing under
Rule 32.1 of the Federal of Criminal Procedure. Based upon the facts alleged in the Petition and in
light of the Defendant’s waivers, the court finds that probable cause exists to believe that the
defendant violated one or more conditions of his release.

        Under Rule 32.1, the court “may release or detain the [defendant] under 18 U.S.C. § 3143(a)
pending further proceedings. The burden of establishing that the person will not flee or pose a danger
to any other person or to the community rests with the [defendant].”

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        In making my findings of fact, I have taken judicial notice of the information set forth in the
Petition on Supervised Release and the Defendant’s waiver of the preliminary hearing. I have also
considered the defense counsel’s statement that his client does not contest the government’s request
for detention.

        As a result, after considering all of these factors, I conclude that there is clear and convincing
evidence that no condition or combination of conditions for release will reasonably assure the safety
of the community.

       IT IS HEREBY ORDERED that the Defendant be committed to the custody of the Attorney
General for confinement in a corrections facility separate, to the extent practicable, from persons
awaiting or serving sentences or being held in custody pending appeal; and

        IT IS FURTHER ORDERED that the Defendant be afforded reasonable opportunity for
private consultation with counsel; and

       IT IS FURTHER ORDERED that, on order of a Court of the United States or on request
of an attorney for the Government, the person in charge of the corrections facility in which the
Defendant is confined deliver Defendant to the United States Marshal for the purpose of an
appearance in connection with a Court proceeding.

        The Defendant will be notified of his next Court appearance.

        DATED and ENTERED this 26th day of December, 2006.

                                                    BY THE COURT:

                                                    s/David L. West,
                                                    United States Magistrate Judge

Copies to:      [ ] AUSA [ ] Defendant/Defense Counsel [ ] Federal Public Defender
                [ ] United States Marshal [ ] Pretrial Services/Probation




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